                   Case 4:06-cr-00390-JRH-CLR Document 60 Filed 07/24/07 Page 1 of 6
AO 245B (Rev 12/03) Judgment in a Criminal Case
         Sheet I



                                     United States District Court
                                                  SOUTHERN DISTRICT OF GEORGIA
                                                       SAVANNAH DIVISIO N

         UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CAS E
                     V.

          Wayne Edward Springfield                                          Case Number :            CR406-00390-00 1

         aka "Michael E . Springfield"                                      USM Number :              13014-02 1

                                                                            Donald Blair Lowe. III
                                                                            Defendant's Attorney

THE DEFENDANT :
[X]      pleaded guilty to Count 2 .
[]       pleaded nolo contendere to Count(s) - which was accepted
         by the court .
[]       was found guilty on Count( s)_ after a plea of not guilty .

The defendant has been convicted of the following offense :


          Title & Section Nature of Offense                                                         Offense Ended Coun t

                                         Distribution of 5 grams or more of cocaine                  May 2, 2006                     2
       21 U.S.C . § 841(a)(1)
                                         base

       The defendant is sentenced as provided in pages 2 through k of this judgment . The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .

     The defendant has been found not guilty on count(s)- .
[X] Counts 1, 3, and 4 are dismissed as to this defendant on the motion of the United States .


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances .




                                                                                 July 24, 2007




                                                                                 B . Avant Edenfield
                                                                                 United States District Judg e
                                                                                 For the Southern District of Georgia
                                                                                 Name and Title of Judg e

                                                                                    7-a'-xoo 7
                                                                                 Date
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AO 2458 (Rev 12/03) Judgment in a Criminal Case :                                                       Judgment -Page 2 of 6
        Sheet 2 - Impri sonment

DEFENDANT: Wayne Edward Springfield
CASE NUMBER: CR406-00390-001
                                                    IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of. 188 months .

          The Court makes the following recommendations to the Bureau of Prisons:


[X] The defendant is remanded to the custody of the United States Marshal .
[ ] The defendant shall surrender to the United States Marshal for this district :

          [ ] at ___,_ [ ] a.m. [ ] p .m . o n
          [ ] as notified by the United States Marshal .


[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :

          [ ] before 2 p .m. on
          [ ] as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Office .
                                                        RETURN
          I have executed this judgment as follows :




          Defendant delivered on to
                                                       with a certified copy of this judgment .




                                                                                         United States Marshal


                                                                                By
                                                                                       Deputy United States Marshal
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AO 245B ( Rev 12/03) Judgment in a C ri minal Case                                                                                          Judgment-Page 3 of 6
       Sheet 3 - Superv ised Release

DEFENDANT : Wayne Edward Springfield
CASE NUMBER: CR406-00390-001
                                                            SUPERVISED RELEAS E
Upon release from imprisonment, the defendant shall be on supe rvised release for a term of 5 years .

          The defendant must repo rt to the probation o ffi ce in the district to which the defendant is rele ased within 72 hours of releas e from the custody
of the Bureau of Prisons .

The defendant shall not commit another federal, state, or local crime .

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an y unlawful use of a controlled substance . The
defendan t shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter , as determined by the
court.

II        The above drug testing condition is suspended , based on the court' s determination that the defendant poses a low risk of future substance abuse.
           (Check, if applicable . )

[X] The defendant shall not possess a fi rearm, destructive device , or an y other dangerous weapon . (Check, if applicable .)

[X] The defendant shall cooperate in the collection of DNA as directed by the probation officer . (Check, if applicable . )

          The defendant shall register with the state sex offender registration agency in the state where the defend ant resides, works, or is a student, as
          directed by the probation officer . ( Check, if applicable . )

          The defendant shall participate in an approved program for domestic violence . (Check, if applicable . )

        If this judgment imposes a fine or restitution , it is a condition of supervised release that the defendant pay in accord ance with the Schedule of
Payments sheet of this judgment.

          The defendant must comply with the stan dard conditions that have been adopted by this court as well as with any additional conditions on the
attached page .

                                              STANDARD CONDITIONS OF SUPERVISIO N

1) the defendant shall not leave the judicial distri ct without the permission of the cou rt or probation offi cer ;
2) the defend ant shall repo rt to the probation officer and shall submit a truthful and complete wri tten report within the first five days of each month;

3) the defendant shall an swer truthfully all inquiries by the probation officer and follow the instructions of the probation officer ;
4) the defendant shall suppo rt his or her dependents an d meet other family responsibilities ;
5) the defendan t shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training , or other acceptable
       reasons ;

6) the defendant shall notify the probation offi cer at least ten days prior to an y ch ange in residence or employment ;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled subst ance
          or any paraphe rn alia related to any controlled subst ances , except as prescribed by a physician ;
8) the defendant shall not fr equent places where controlled subst ances are illegally sold, used , distributed, or administered ;

9) the defendan t shall not associate with any persons engaged in c ri minal activity an d shall not associate with any person convicted of a felony,
       unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit con fi scation of an y
       contrab an d observed in plain view of the probation officer;

11) the defendan t shall notify the probation officer within seventy - two hours of being arrested or questioned by a law enforcement officer ;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
       of the court;

13)       as directed by the probation officer , the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal histo ry or characteristics and shall permit the probation officer to make such noti fi cation and to confirm the defend an t' s compli ance
          with such notification requirement; and

14) Any possession , use, or att empted use of any device to impede or evade drug testing shall be a violation of supe rvised release .
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AO 245B (Rev 12/03) Judgment in a Criminal Case :                                                  Judgment-Page 4 of 6
        Sheet 3C - Supervised Release


DEFENDANT: Wayne Edward Spring fi eld
CASE NUMBER: CR406-00390-00 1



                                            SPECIAL CONDITIONS OF SUPERVISION


1 . The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
        determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
        abuse.

2. The defendant shall provide the probation officer with access to any requested financial information . The
       defendant shall not incur new credit charges or open additional lines of credit without the approval of the
       probation officer unless the defendant is in compliance with the installment payment schedule .


                                                    ACKNOWLEDGMEN T
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision .

These conditions have been read to me . I fully understand the conditions and have been provided a copy of them .



    (Signed)
                    Defendant                               Dat e



                    U . S . Probation Officer/Designated Witness Date
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AO 245B (Rev 12/ 03) Judgment in a Criminal Case :     Judgment-Page 5 of 6
       Shee t 5 - Cri min al Monetarv Penaltie s

DEFENDANT : Wayne Edward Springfield
CASE NUMBER: CR406-00390-00 1
                           CRIMINAL MONETARY PENALTIE S

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .
                                                          Assessment                      Fine Restitutio n

 Totals :         $100                                  $4,00 0

    The determination of restitution is deferred until An Amended Judgment in a Criminal Case (AO 245C) will be entered after
        such a determination.

[ ] The defendant must make restitution (including community restitution) to the following payees in the amounts listed below .

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below . However, pursuant to 18 U .S .C . § 3664(i), all nonfederal
        victims must be paid before the United States is paid .


            Name of Payee Total Loss* Restitution Ordered Priority or Percentag e




               Totals :


         Restitution amount ordered pursuant to plea agreement               $

[X] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of judgment, pursuant to 18 U .S .C . § 3612(f) . All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default pursuant to 18 U .S .C . § 3612(g) .
        The court determined that the defendant does not have the ability to pay interest and it is ordered that :

                   The interest requirement is waived for the [ ] fine [ ] restitution .
                   The interest requirement for the [ ] fine [ ] restitution is modified as follows :


* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996 .
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AO 245B (Rev 12/ 03) Judgment in a Criminal Case :                                                                                    Judgment -Page 6 of 6
        Sheet 6 - Criminal Mone tary Penal ties


DEFENDANT : Wayne Edward Springfield
CASE NUMBER: CR406-00390-001
                                                       SCHEDULE OF PAYMENT S

Having assessed the defendant' s ability to pay, payment of the total criminal moneta ry penalties shall be due as follows :

A [X] Lump sum payment of $ 100 due immediately , balance du e

            [ ] not later than _ ; o r
            [X] in accordance with [ ] C, [ ] D, [ ] E, or [X] F below; or

B[ ] Payment to begin immediately (maybe combined with [ ] C, [ ] D, or [ ] F below) ; or

C[ ] Payment in equal - (e .g ., weekly, monthly, quarterly) installments ofJ over a period of_ ( e .g ., months or years ), to commence
       - (e.g ., 30 or 60 days) after the date of this judgment; or

D[ ] Payment in equal - ( e .g ., weekly, mon thly, quart erly) installments of Lover a period of _ ( e .g ., months or years), to commence
       _(e .g ., 30 or 60 days ) after release from imprisonment to a term of supervision ; or

E[ ] Payment during the term of supervised release will commence within _,,,,, (eg ., 30 or 60 days) after release from imprisonment.
        the court will set the payment plan based on an assessment of the defendant ' s ability to pay at that time ; o r

F [X] Special instructions regarding the payment of criminal monetary penalties : While in the custody of th e Bureau of Prisons, the
       defendant shall make payments of either quarterly installments of a minimum of $25 if working non-UNICOR or a minimum of
       50 percent of monthly earn ings if working UNICOR. Upon release from imprisonment and while on supervised release, the
       defendant shall make minimum monthly payments of $160 over a period of 25 months . Payments are to be made payable to the
       Clerk, United States District Court.

Unless the court has expressly ordered o therwise , if this judgment imposes imprisonment, payment of criminal moneta ry penalties is due
during the period of imprisonment . All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program , are made to the clerk of the court .
The defendant shall receive credit for all payments previously made toward any criminal moneta ry penalties imposed .


II        Joint and Severa l
             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
             Amount, and corresponding payee, if appropriate :



II        The defendant shall pay the cost of prosecution .

          The defendant shall pay the following court cost(s) :



[ ] The defend ant shall forfeit the defendant ' s interest in the following proper ty to the United States :



Payments shall be applied in the following order : ( 1) assessment ; (2) restitution principal ; ( 3) restitution interest ; (4) fine principal ; (5) fin e
interest; ( 6) communi ty restitution; ( 7) penalties, and (8 ) costs, including cost of prosecution and court costs .
